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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,

              V.                                                 14-CR-6038(EAW)

ALEXANDER GREEN,

                      Defendant.




                       PRELIMINARY ORDER OF FORFEITURE



        WHEREAS, on October 3, 2018, the defendant, ALEXANDER GREEN, pleaded

guilty to a two-count Superseding Information (docket #14-CR-6038) which charges, in count

1, a violation of Title 21, United States Code, Section 846 (conspiracy to possess with intent

to distribute and to distribute 50 kilograms or more of marijuana), and in count 2, a violation

of Title 18, United States Code, Section 1956(h) (conspiracy to commit money laundering),

and,




       WHEREAS, based upon the defendant's conviction on count 1 and from his

admission in the written plea agreement that certain property is subject to forfeiture, the

government has established the requisite nexus between the property and the offense

committed by the defendant and therefore the following property is subject to forfeiture:


       a. The sum of fifty thousand dollars ($50,000) in United States currency.


       NOW THEREFORE, pursuant to Federal Rule ofCriminal Procedure 32.2(b)(2), and

Title 21, United States Code, Section 853(a)(1), it is hereby.
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       ORDERED, ADJUDGED, and DECREED that pursuant to Tide 21, United States

Code, Section 853(c) and (e) through (p), the above listed property and/or any interest therein

is hereby condemned and forfeited to the United States of America and shall be disposed of

according to law; and it is further



       ORDERED, ADJUDGED, and DECREED that this Order shall serve as a judgment

in favor of the United States of America regarding any and all of the defendant's right, tide,

and interest in the above described property.       The property is hereby condemned and

forfeited to the United States of America and shall be disposed of according to law, and the

United States of America shall seize the aforementioned property, to protect the interests of

the Government in the property ordered forfeited by providing a copy of this Order to any

person or entity which has possession of, or jurisdiction over the forfeited interests, and by

taking all steps necessary and appropriate to protect the interests of the United States of

America, including the taking of actual possession of the property; and it is further



       ORDERED, ADJUDGED and DECREED that pursuant to Title 21, United States

Code, Section 853(h), following the seizure of the property ordered forfeited, the Attomey

General shall direct the disposition ofthe property, making due provision for the rights ofany

innocent persons; and it is further



       ORDERED, ADJUDGED, and DECREED that pursuant to Title 21, United States

Code, Section 853(n)(l), the United States shall publish notice of this Order and of its intent

to dispose of the property in such manner as the Attomey General may direct, and provide
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notice that any person, other than the defendant, having or claiming a legal interest in the

above forfeited property must file a petition with the court within thirty (30) days of the final

publication of notice, or of receipt of actual notice, whichever is earher.



        This notice shall state that the petition shall be for request of a hearing to adjudicate

the validity of the petitioner's alleged interest in the property, shall be signed by the petitioner

under penalty ofpeijury, and shall set forth the nature and extent of the petitioner's right, title

or interest in each of the forfeited properties, and any additional facts supporting the

petitioner's claim and the relief sought.



        The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in any of the property that is the subject of the

Order of Forfeiture, as a substitute for pubhshed notice as to those persons so notified, and it

is further,


        ORDERED, ADJUDGED, AND DECREED, that in the event that a Final Order

of Forfeiture is issued concerning the subject property, the United States Marshals Service

shall dispose of the forfeited property according to law. The United States Marshals Service

shall be reimbursed for all costs incurred arising from the seizure and custody ofsaid property.

All remaining funds shall be deposited with United States Department of Justice Asset

Forfeiture Fund; and it is further.
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       ORDERED, ADJUDGED, AND DECREED, that upon adjudication of all third-

party interests, this Court will enter a Final Order of Forfeiture pursuant to Title 21, United

States Code, Section 853(a)(1).



       Dated:    April 2, 2019
                 Rochester, New York




                                           HON
                                                   D STATES DISTRICT JUDGE
